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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.1.1
                                Eastern Division

Charles Johnson
                             Plaintiff,
v.                                                  Case No.: 1:16−cv−07032
                                                    Honorable Elaine E. Bucklo
Comenity, LLC
                             Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, September 28, 2016:


        MINUTE entry before the Honorable Elaine E. Bucklo: Scheduling conference
held on 9/28/2016. Parties report settlement has been reached. Status hearing set for
11/22/2016 at 9:00 AM for finalization of settlement. Parties to advise the Court if the
matter is resolved prior to the next court date. Mailed notice (jdh)




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
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